     Case 1:22-mj-00097-RMM Document 1-1 Filed 05/03/22 Page 1 of 3




                     AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT


       I, Stephen A Walker, having been first duly sworn, do hereby depose and state as

follows:

        1.     I have been a Special Agent with the FBI since 2021. As a Special Agent with the

FBI, I have participated in multiple narcotics investigations and arrests for violations of Title 21,

United States Code. These investigations have involved debriefmg defendants, witnesses, and

informants, conducting surveillance, executing search warrants, seizing narcotics and narcotics-

related assets, and making arrests for narcotics-related offenses. I have received specialized

training on the subject of narcotics trafficking and money laundering from the FBI, including but

not limited to the means and methods used by narcotics traffickers to import and distribute

narcotics, drug smuggling methods, and the concealment and laundering of proceeds from illicit

drug trafficking activities. As a result of my training and experience, I am familiar with the manner

in which various types of illegal drugs are cultivated, manufactured, smuggled, distributed, or

diverted, as well as the methods used to finance drug transactions and launder drug proceeds.

       2.      Prior to being employed with the FBI, I was employed in local law enforcement for

over 10 years in the State of North Carolina. During my employment in local law enforcement, I

investigated numerous drug related offenses. These investigations included obtaining search

warrants for drug related incidents, making drug-related arrests, conducting surveillance, and

being a member of a drug-interdiction team that operating on Interstate 95.

       3.      Since November 2021, Agents from the Washington Field Office have been

actively investigating a supplier of cocaine FUNU LUNU known as CASTOR. Information has

been collected to believe CASTOR distributes cocaine from Guatemala to the United States. It is

believed that CASTOR has distributed illegal substance throughout the DC Metropolitan area.
     Case 1:22-mj-00097-RMM Document 1-1 Filed 05/03/22 Page 2 of 3




        4.     This affidavit is being submitted in support of a complaint for the arrest ofVICTOR

AUGUSTO GUERRA WAREZ (hereinafter referred to as "GUERRA WAREZ") for possession

 with intent to distribute a controlled substance, in violation of Title 21, United States Code,

 Section 841 (a)(l) and 841(b)(1)(C).

        5.     The facts listed in the affidavit are known personally to me, or have been provided

to me by other law enforcement officers participating in the investigation. This affidavit is

provided solely for the purpose of establishing probable cause to arrest GUERRA WAREZ.

Accordingly, this affidavit does not contain all of the facts known to me and other law enforcement

officers concerning this investigation.

                                          PROBABLE CAUSE

6.     In November 2021, Agents used a Confidential Human Source (CHS) to conduct a

purchase of suspected cocaine coordinated by CASTOR. Since this initial purchase, the CHS has

been in contact with CASTOR. The CHS, after speaking with CASTOR, arranged to have at least

1 kilogram of cocaine delivered to the DC Metropolitan area.

       7.      Between April 30 and May 1, 2022, CHS received WhatsApp phone calls from the

subject known as CASTOR. CASTOR informed the CHS half of a kilogram of cocaine would be

delivered to Maryland on May 2, 2022. On May 2, 2022, CHS received a phone call from the

subject known as CASTOR. CASTOR informed the CHS a courier would be contacting him. On

May 2, 2022, the CHS received a WhatsApp phone call from an unknown subject. The unknown

subject agreed to meet with the CHS at a predetermined location in Washington D.C. The

unknown subject informed the CHS he was driving a red Toyota Rav4.

8.     Once the CHS parked beside the Rav4 at the predetermined location, the CHS exited his
     Case 1:22-mj-00097-RMM Document 1-1 Filed 05/03/22 Page 3 of 3




vehicle and entered the front passenger seat of the Rav4. The CHS exited the unknown subject's

vehicle and provided the Agents on scene with an affirmative signal that the suspected cocaine

was located inside of the Toyota Rav4. The unknown subject was taken into custody after he

exited the driver's seat of the Toyota Rav4. This subject was later identified as VICTOR

AUGUSTO GUERRA JUAREZ. Once Agents approached the vehicle, a white powdery

substance was located inside of two dark clear plastic bags, which were inside of a gift bag, on the

front passenger's seat of the vehicle. This substance later field tested for Cocaine HCL and

weighed 435.4 grams.

       9.      Based upon the foregoing information, your affiant respectfully submits that

probable cause exists to charge VICTOR AUGUSTO GUERRA JUAREZ possession with intent

to distribute a controlled substance, in violation of Title 21, United States Code, Section 841 (a)(l )

and 841(b)(1)(C).

FURTHER YOUR AFFIANT SAYETH NAUGHT


                                              STEPHEN A. WALKER, Special Agent
                                              FEDERAL BUREAU OF INVESTIGATION


Attested to by the applicant in accordance with the requirements ofFed. R. Crim. P. 4.1 by
telephone, this 3rd ofMay 2022.
                                                                        2022.05.03
                                                                        12:01:07 -04'00'
                                              ROBIN M. MERIWEATHER
                                              UNITED STATES MAGISTRATE JUDGE
